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 8                       UNITED STATES DISTRICT COURT

 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,            No. CR    2:22-cr-00165 -MCS

11             Plaintiff,                 I N F O R M A T I O N

12                  v.                    [16 U.S.C. §§ 3372(a)(2)(A),
                                          3373(d)(1)(B): Wildlife
13   DAVID RYAN SNEDDON,                  Trafficking; 16 U.S.C.
       aka “David Ryan,”                  § 3374(a)(1): Criminal
14                                        Forfeiture]
               Defendant.
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19        The United States Attorney charges:

20              [16 U.S.C. §§ 3372(a)(2)(A), 3373(d)(1)(B)]

21        On or about August 2, 2020, in Los Angeles County, within

22   the Central District of California, and elsewhere, defendant

23   DAVID RYAN SNEDDON, also known as “David Ryan,” knowingly

24   engaged in conduct that involved the sale and purchase of, the

25   offer of sale and purchase of, and the intent to sell and

26   purchase wildlife with a market value in excess of $350, and

27   knowingly transported, sold, received, and acquired wildlife,

28   specifically, the native California reptiles and live restricted
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 1   species listed below, knowing that such wildlife was taken,

 2   possessed, and transported in violation of California state law,

 3   including Title 14, California Code of Regulations, Sections

 4   671(c)(7)(D)(E) and (G), 40, and 43.

 5   Native California Reptiles              California Live Restricted
                                             Reptiles
 6   Mojave Shovel Nosed                     (Family of Viperidae)
     Snake(Chionactis occipitalis),          Uganda Puff Adders Snake
 7   Blue Speckled Rattlesnake               (Bitis arietans) and African
     (Crotalus mitchellii), Great            Bush Vipers (Atheris species)
 8   Basin Gopher Snake (Pituophis
     catenifer deserticola), Long
 9   Nosed Snake(Rhinocheilus
     lecontei), Sonoran Lyre
10   Snake(Trimorphodon lambda),
     Western Diamondback
11   Rattlesnake(Crotalus atrox),
     Colorado Sidewinder(Crotalus
12   cerastes laterorepens), and
     the Mojave Desert Sidewinder
13   Snake (Crotalus cerastes
     cerastes)
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 1                           FORFEITURE ALLEGATION

 2               [16 U.S.C. § 3374 and 28 U.S.C. § 2461(c)]

 3        1.   Pursuant to Rule 32.2 of the Federal Rules of Criminal

 4   Procedure, notice is hereby given that the United States of

 5   America will seek forfeiture as part of any sentence, pursuant

 6   to Title 16, United States Code, Section 3374 and Title 28,

 7   United States Code, Section 2461(c), in the event of the

 8   defendant’s conviction of the offense set forth in the single

 9   count Information.

10        2.   The defendant, if so convicted, shall forfeit to the

11   United States the following:

12             (a) All fish or wildlife or plants imported, exported,

13   transported, sold, received, acquired, or purchased contrary to

14   the provisions of Title 18, Section 3372 or any regulation

15   issued pursuant thereto;

16             (b) All vessels, vehicles, aircraft, and other

17   equipment used to aid in such offense; and

18             (c) To the extent that such property is not available

19   for forfeiture, a sum of money equal to the total value of the

20   property described in subparagraphs (a) and (b).

21        3.   Pursuant to Title 21, United States Code, Section

22   853(p), as incorporated by Title 28, United States Code, Section

23   2461(c), the defendant, if so convicted, shall forfeit

24   substitute property if, by any act or omission of the defendant,

25   the property described in the preceding paragraph, or any

26   portion thereof: (a) cannot be located upon the exercise of due

27   diligence; (b) has been transferred, sold to, or deposited with

28   a third party; (c) has been placed beyond the jurisdiction of

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 1   the court; (d) has been substantially diminished in value; or

 2   (e) has been commingled with other property that cannot be

 3   divided without difficulty.

 4                                    TRACY L. WILKISON
                                      United States Attorney
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 7                                    SCOTT M. GARRINGER
                                      Assistant United States Attorney
 8                                    Chief, Criminal Division
 9                                    MARK A. WILLIAMS
                                      Assistant United States Attorney
10                                    Chief, Environmental and
                                      Community Safety Crimes Section
11
                                      DENNIS MITCHELL
12                                    Assistant United States Attorney
                                      Deputy Chief, Environmental and
13                                    Community Safety Crimes Section
14                                    AMANDA M. BETTINELLI
                                      Assistant United States Attorney
15                                    Environmental and Community
                                      Safety Crimes Section
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